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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                   LAFAYETTE DIVISION

LAFAYETTE CITY-PARISH            *                 CIVIL ACTION NO:
CONSOLIDATED GOVERNMENT          *                 6:22-CV-00146
                                 *
VERSUS                           *                 JUDGE JUNEAU
                                 *
MORBARK, LLC, W.L. DOGGETT, LLC  *
d/b/a DOGGETT MACHINERY SERVICES *                 MAGISTRATE JUDGE
and CATERPILLAR, INC.            *                 CAROL B. WHITEHURST
                                 *
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                      RESPONSE TO “REMOVAL ORDER” (DOC. 4)


        NOW INTO COURT, through undersigned counsel, comes defendant Caterpillar Inc.

(“Caterpillar”), and in response to the Court’s “Removal Order” (Doc. 4) submits the following:

1(a).   A list of all attorneys now involved in the case and the parties they represent:

        Representing the plaintiff, Lafayette City-Parish Consolidated Government:
        Michael O. Adley, Esq.
        michaeladley@gibsonlawpartners.com
        Alan W. Stewart, Esq.
        alanstewart@gibsonlawpartners.com
        Gibson Law Partners, LLC
        2448 Johnson Street (70503)
        P.O. Box 52124
        Lafayette, Louisiana 70505
        Telephone: (337) 761.6023

        Representing the defendant, Caterpillar Inc.:
        Deirdre C. McGlinchey (24167) (T.A.)
        dmcglinchey@mcglinchey.com
        Patrick J. O’Cain (20993)
        pocain@mcglinchey.com
        Farren L. Davis (38714)
        fdavis@mcglinchey.com
        McGlinchey Stafford, PLLC
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        601 Poydras Street, Floor 12
        New Orleans, Louisiana 70130
        Telephone (504) 586.1200

        Representing the defendant, Morbark LLC:
        Paul M. Lavelle, Esq.
        plavelle@cottenschmidt.com
        Sarah P. Reid, Esq.
        sreid@cottenschmidt.com
        Cotton Schmidt, LLP
        650 Poydras Street, Suite 1950
        New Orleans, Louisiana 70130
        Telephone: (504) 568.9393

        Representing the defendant, W.L. Doggett, LLC:
        Undetermined at this time

1(b).   Copies of all records and proceedings occurring the State Court prior to removal,
        arranged by order of filing date:

        Attached to this pleading (“State Court Record as of January 21, 2022”).

1(c).   A list of all documents included in the State Court record, arranged by order of filing
        date:

        •       12/29/21 letter to clerk of court;
        •       12/29/21 “Louisiana Civil Case Reporting Civil Case Cover Sheet”;
        •       12/29/21 “Petition for Redhibition and Damages”;
        •       12/29/21 “Request for Notice of Trial Date, Etc.”;
        •       01/18/22 “Notice of Removal of Case to Federal Court,” with exhibits.

1(d).   Certificate by counsel.

        Undersigned counsel certifies that the above constitutes the entire State Court record as of
        January 21, 2022.

2.      Motions or exceptions pending in State Court at the time of removal:

        None.

3.      Funds being held by State Court for benefit of the litigants:

        None.
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                                                /s/ Patrick J. O’Cain
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                                                New Orleans, Louisiana 70130
                                                Telephone (504) 586.1200
                                                COUNSEL FOR CATERPILLAR INC.

                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing pleading has been served by filing

it with the Court’s electronic-filing system.

                                                /s/ Patrick J. O’Cain
                                                PATRICK J. O’CAIN
